Case 17-32255-sgj7           Doc 581    Filed 03/24/21 Entered 03/24/21 14:33:52             Desc Main
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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

                                                      §
 IN RE:
                                                      §
                                                      §     CASE NO: 17-32255-SGJ-7
 WALNUT HILL PHYSICIANS                               §
 HOSPITAL, LLC
                                                      §      Chapter 7
                                                      §
     DEBTOR.


                                 TRUSTEE’S INTERIM REPORT

          The Trustee wishes to advise the Court, creditors, and parties in interest that the trustee

 has resolved D & O litigation. Claims objections pending and requesting W9 information from

 former employees for their timely filed claims.



                                                 Respectfully Submitted,

                                                   /s/ Scott M. Seidel
                                                 Scott M. Seidel

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                                                 Telephone: (214) 234-2500
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                                                 CHAPTER 7 TRUSTEE




 TRUSTEE’S STATUS REPORT                                                                       SOLO PAGE
